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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                       *
vs.                                                 *    Case No.: 22-15-APM
RHODES, III et al.
(THOMAS E. CALDWELL)                                *
         *       *      *       *       *       *        *      *        *       *         *


         UNOPPOSED REQUEST TO EXTEND BY 30 DAYS THE DEADLINE FOR
                        FILING RULE 12(b) MOTIONS


      COMES NOW, the Defendant, Thomas E. Caldwell, by and through counsel, and on behalf

of all defendants in United States v. Rhodes, and respectfully requests that the deadline for filing

Rule 12(b) motions, which is currently February 25, 2021, be extended for thirty (30) days, and

in support states:

      1. The Government, per Assistant U.S. Kathryn Rakoczy, does not object to the instant

         request.

      2. The trial dates for the Rhodes defendants are tentatively set for July 11, 2022 and

         September 26, 2022. Extending the motions deadline thirty days, with a commensurate

         extension for the Government’s reply, will not affect either trial date.

      3. This motion is made on behalf of all Rhodes defendants, who all concur that it will be

         impossible to file appropriate motions by the current deadline.

      4. All counsel continue to diligently review an onslaught of discovery, which is necessary to

         determine what, if any, motions are appropriate to file with the Court.

      5. Many counsel will not be able to access and use the Relativity database until after a

         February 23rd training provided by the Federal Defender.
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   6. Defendant Caldwell is facing three entirely different counts than he faced in previous

       indictments. It will take an additional two weeks at least simply to research case law and

       legislative history regarding these counts alone. The co-defendants are similarly

       situated.

   7. Recently added counsel are particularly finding it impossible to meet the Court’s current

       motions deadline, despite working practically around the clock. Counsel for Mr. Meggs

       advises that a 30-day extension may be insufficient and may file a separate request for a

       longer extension.

Wherefore the Rhodes defendants respectfully request that the Court grant a 30-day extension for

the filing of Rule 12(b) motions.

                                                    Respectfully submitted,


                                                              /s/
                                                    David W. Fischer, Esq.
                                                    Federal Bar No. 023787
                                                    Law Offices of Fischer & Putzi, P.A.
                                                    Empire Towers, Suite 300
                                                    7310 Ritchie Highway
                                                    Glen Burnie, MD 21061
                                                    (410) 787-0826
                                                    Attorney for Defendant



                                CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 21st day of February, 2022, a copy of the foregoing
Request to Extend by 30 Days the Deadline for Filing Rule 12(b) Motions was electronically
filed with the Clerk of the United States District Court using CM/ECF, with a notice of said
filing to the following:

Counsel for the Government:                 Office of the United States Attorney
                                            555 4th Street, NW
                                            Washington, DC 20001

                                                            /s/
                                                    David W. Fischer, Esq.
